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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO


     OHIO A. PHILIP RANDOLPH                              No. 1:18-cv-00357-TSB-KNM-MHW
     INSTITUTE, et al.
                                                          Judge Timothy S. Black
     Plaintiffs,                                          Judge Karen Nelson Moore
                                                          Judge Michael H. Watson
     v.                                                   Magistrate Judge Karen L. Litkovitz

     LARRY HOUSEHOLDER, Speaker of the
     Ohio House of Representatives, et al.

     Defendants.


           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE TO
            EXCLUDE THE TESTIMONY AND REPORTS OF DR. M.V. HOOD III

            Pursuant to Federal Rules of Evidence 401, 403, and 702, Plaintiffs respectfully submit

     this memorandum of law in support of their motion in limine to exclude the proposed testimony

     and reports of M.V. Hood III. Plaintiffs do not dispute that Hood could, if offering appropriate

     testimony, qualify under the relevant standard as an expert in political science. However, the

     vast majority of the opinions offered by Hood in this case do not meet the standard for reliability

     required under the governing standard.

                                            INTRODUCTION

            The introduction of expert testimony is governed by Federal Rule of Evidence 702 and

     the Supreme Court’s decision in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

     (1993), pursuant to which expert testimony must be qualified, reliable, and relevant to be

     admissible. “Daubert pointed out that Federal Rules 702 and 703 grant expert witnesses

     testimonial latitude unavailable to other witnesses on the ‘assumption that the expert’s opinion

     will have a reliable basis in the knowledge and experience of his discipline.’” Kumho Tire Co. v.




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     Carmichael, 526 U.S. 137, 148 (1999). A proffered expert witness must be qualified “by

     knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Where a Court

     determines that an expert is sufficiently qualified, it then considers whether the offered opinion is

     relevant and reliable. See, e.g., Rodrigues v. Baxter Healthcare Corp., 567 F. App’x 359, 361

     (6th Cir. 2014) (“Yes, the rule requires an expert to be qualified. But no, its requirements do not

     end there.”); Rose v. Truck Ctrs., Inc., 388 F. App’x 528, 534 (6th Cir. 2010) (determining expert

     qualified, then assessing that opinion unreliable). An expert’s testimony must be based on

     “‘sufficient facts and data’ and ‘[be] the product of reliable principles and methods.’” E.E.O.C.

     v. Kaplan Higher Educ. Corp., 748 F.3d 749, 752 (6th Cir. 2014) (quoting Fed. R. Evid. 702(b),

     (c)). The proponent of the testimony bears the burden of establishing its admissibility by a

     preponderance of proof. Pride v. BIC Corp., 218 F.3d 566, 578 (6th Cir. 2000).

                                               ARGUMENT

            Defendants retained Dr. Hood “to provide an assessment of Ohio’s congressional

     districts.” Declaration of Theresa J. Lee in Support of Plaintiffs’ Motion in Limine to Exclude

     Testimony of Dr. M.V. Hood III (“Lee Decl.”), Ex. A (Ex. 1 to 12/17/2018 Hood Deposition)

     (“Hood Report”) at 2. In providing his assessment, Dr. Hood makes a number of claims by

     simply reproducing “summary statistics” provided to him by counsel for the Legislative

     Defendants. Lee Decl., Ex. B (Transcript of 12/17/2018 Hood Deposition) (“Hood Dep.”)

     at 21:2-22:3. He further makes conclusions or “inferences” that do not follow from the

     underlying materials, see, e.g., Hood Dep. at 165:15-166:7, including by making cause and effect

     assertions in a way that he would not in conducting his academic research, see id.. at 161:11-18.

     He also makes data selection choices that are contrary to his description of the data used and for

     which he offers no underlying reason for the particular selection, and by so making, skews the




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     data to support his assertions. Hood Report at 11-12; Hood Dep. at 131:16-132:3. Dr. Hood also

     states “facts” in his report that are not in the record, and he either provides no citation at all or an

     incomplete one, such that even he is unclear as to what information is reflected in the “source.”

     Hood Report at 18-22; Hood Dep. at 154:23-157:6. Finally, he purports to offer an opinion on

     Plaintiffs’ standing, clearly a legal determination to be made by the Court, which he is not

     qualified to offer, see Hood Dep. at 179:2-9. A single one of these errors may perhaps have gone

     to the weight of Dr. Hood’s opinions, not their admissibility. However, taken together, they

     amply demonstrate that Dr. Hood has not offered reliable opinions admissible under Rule 702.

     Rather, his report appears to be a catch-all directed by counsel for the Defendants.

             Dr. Hood’s report proceeds in eight substantive parts, which each suffer from different

     particular errors that utterly undermine the reliability of his work. Due to the grab bag nature of

     Dr. Hood’s report, this motion considers each of the parts in turn.

         A. The opinions offered in Section III of Dr. Hood’s Report and any related testimony
            are unreliable and should be excluded.

             In Section III of his Report, Dr. Hood simply reproduces, in a format that matches his

     font selection, “summary statistics” that were provided to him by counsel for the Defendants. He

     asserts that he is assessing the challenged map and the Proposed Remedial Plan on a number of

     traditional criteria, including population equality, incumbent pairings, compactness, and

     communities of interest. Hood Report 3-10, Tables 1-3, 5-10. However, upon questioning, Dr.

     Hood indicated that each of these were the “summary statistics” provided to him by Defendants’

     counsel. Hood Dep. at 20:3-12; 21:2-22:3. Dr. Hood did not compute the population or

     compactness of any of the congressional districts, geo-code the incumbents to determine which

     were paired, or review the maps to determine the number of counties and subdivisions split. Id.




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     at 21:2-22:3. As he did not conduct any analysis to determine if the summaries provided to him

     were accurate, he is not making use of any specialized knowledge that would assist the Court.

            Additionally, in his deposition, it became clear that the summary statistics provided

     included at least one error, which undermined his “conclusion” that the challenged map

     improved upon the 2002 map in one of these areas of traditional redistricting. Hood Dep.

     at 74:6-76:23; 78:3-6. The summary report regarding the number of counties split by the 2002

     map indicated that 25 counties were split, but listed three counties that were only contained in

     one congressional district, for a real total of 22 split counties. Lee Decl., Ex. C (Ex. 10 to

     12/17/2018 Hood Deposition); Hood Dep. at 74:6-76:23. Based on this incorrect summary

     information, he then wrongly concluded that in some aspects the challenged plan “made slight

     improvements over” the 2002 plan. Hood Report at 7; see Hood Dep. at 79:17-80:12. Simply

     reprinting “summary statistics” from an interested party plainly is not a “reliable principle[ or]

     method.” Fed. R. Evid. 702(c). For this reason alone, even leaving out the errors included in

     those summaries, Section III of Dr. Hood’s report is not sufficiently reliable for admission under

     Rule 702.

            The only of the Tables in the Section that Dr. Hood generated were Tables 5 and 11,

     which considered what percentage of the previous district was retained in the new district for

     each 2011 incumbent. Hood Dep. at 22:4-11. However, as Dr. Hood did not geocode the

     residences of the 2011 incumbents, id. at 21:20-22:3, (nor did he provide the incumbent

     addresses used by Defendants’ counsel to the Plaintiffs, as is required under Rule 26), he cannot

     reliably testify that the core retention values he calculated are correct. Moreover, Dr. Hood’s

     conclusion with respect to the core retention values is contrary to that he has published in his

     peer-reviewed work. In his report, Dr. Hood concluded that because the challenged map had




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     average core-retention of 55.6%, 1 this demonstrated that the map was drawn for the purpose of

     incumbent protection. Hood Report at 5. However, in describing an average core retention rate

     for a congressional redistricting in Georgia, Dr. Hood described an average core retention rate of

     68.7% as a map that “greatly altered the relationship between representatives and constituents.”

     Lee Decl., Ex. D (Ex. 11 to 12/17/2018 Hood Deposition) at 210. While Dr. Hood noted that at

     issue in the article was mid-decade redistricting, and thus a different case, he could not testify to

     any reason why 55.6% did not likewise “greatly alter[]” the relationship. Hood Dep. at 146:9-

     149:4. He could not point to any specific percentage that would be considered demonstrative of

     incumbency protection, and would have the Court take it on just his say-so. Courts should not

     “admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”

     Kumho Tire Co., 526 U.S. at 157 (internal citations omitted).

             Finally, in its analysis of the Proposed Remedial Plan, this Section does not offer the trier

     of fact any help in understanding the evidence in this case. In an attempt to paint the Proposed

     Remedial Plan as defective (even though it substantially betters the challenged map on all

     traditional redistricting criteria), Dr. Hood assessed the Proposed Plan based on the 2011

     incumbents. As Dr. Hood himself testified, the Proposed Remedial Plan is of course only

     presented for future use, Hood Dep. at 90:12-23, and many of the 2011 incumbents are no longer

     incumbents, id. at 90:24-91:20. As the Proposed Plan is offered as a forward looking alternative,

     it explicitly considered the incumbents presently in office to avoid incumbent pairing. Assessing

     the Proposed Plan for future use based upon incumbents long out of office simply does not make

     sense, and thus does not “help the trier of fact to understand the evidence or to determine a fact

     in issue.” Fed. R. Evid. 702(a).

     1
       Dr. Hood’s report finds a core retention rate of 55.7%, but two of the digits in the rate for District 5 are
     transposed. Hood Report at 6 (reads 56.4%, but according to Dr. Hood’s data should be 54.6%).


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        B. The opinions offered in Section IV of Dr. Hood’s report and any related testimony
           are unreliable and should be excluded.

            In Section IV, Dr. Hood recites a now familiar refrain that political geography is the

     cause of the gerrymandered map. Hood Report at 10-13. However, the metric he uses to support

     this conclusion does no such thing. Dr. Hood presents the Moran’s I Coefficient for Ohio as if it

     demonstrates that natural packing is the cause of the composition of Ohio’s gerrymandered

     districts. Id. at 13. However, the coefficient shows only that Democrats live near Democrats,

     and Republicans live near Republicans. Hood Dep. at 101:25-102:13. While this may be

     interesting in theory, it does not show, as Dr. Hood admits, that Democrats live near Democrats

     at greater rates than Republicans live near Republicans, id. at 104:23-105:6, so there is nothing to

     say that this spatial relationship underlies the congressional districts’ compositions. Thus, this

     discussion does nothing to “help the trier of fact to understand the evidence or to determine a fact

     in issue,” Fed. R. Evid 702(a), and in fact tends to obscure that it is actually a measurement of

     both Republicans and Democrats living near their co-partisans.

            Moreover, that Democrats tend to live in more dense areas further does nothing to assist

     the Court. The facts themselves belie that natural clustering lead to the creation of the partisan

     gerrymander at issue. In Dr. Hood’s own Figures, it is clear that it is not the presence of

     Democratic VTDs near one another that lead to Ohio’s gerrymander. Looking at Dr. Hood’s

     Figure 4, it is plain that Democrats living in and around the city of Cincinnati did not naturally

     cause the partisan make-up of the districts there. Rather, the line between Districts 1 and 2

     snakes through the City of Cincinnati, cleaving it in two. On its face, this is clearly not “natural

     packing.” See also Hood Report, Figure 5 (District 11 includes much of Cleveland and then juts

     to the south, through Republican VTDs to then pick up part of Akron. This too is not “natural

     packing” but the deliberate packing of geographically disparate groups of Democrats into one



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     District). The conclusions offered and Figures generated in aid of Section IV are simply not

     grounded in the facts in this case and must be excluded for that reason. Fed. R. Evid. 702(d).

     See Pride, 218 F.3d at 578 (“Rule 702 requires that the expert’s testimony assist the trier of fact.

     . . . [the] testimony must ‘fit’ the facts of the case.”)

         C. The partisan index used in Sections IV, V, and VIII of Dr. Hood’s Report and in his
            2018 Supplemental Report, the opinions based upon it, and any related testimony
            are unreliable and should be excluded.

             In Section IV, Dr. Hood described his partisan index as one “based on statewide,

     contested elections for the decade preceding the 2010 redistricting-cycle.” Hood Report at 11.

     He then went on to identify the statewide races, but notably excluded five of the “statewide,

     contested elections [in] the decade preceding the 2010 redistricting-cycle.” Dr. Hood left out the

     2002 statewide races, and offered no explanation for why he did so. Id. at 11-12, Table 12; Hood

     Dep. at 131:16-132:3. Moreover, the 2002 results data was plainly available to the General

     Assembly at the time of the redistricting 2 and were even included within the Hood data files

     Defendants provided to Plaintiffs in accordance with Federal Rule of Civil Procedure 26.

             This selective use of data wholly undermines the reliability of the conclusions offered

     therefrom in Sections IV, V, and VIII, and the 2018 Supplemental Report. Dr. Hood uses this

     index in Section V to assert that from the perspective known at the time of its passage the

     challenged map was thought to be competitive, and that the partisan composition barely differs

     2
       In addition to the plain temporal fact that 2002 election results were available in 2011, evidence adduced
     in discovery demonstrates that in fact the 2002 election data was on hand and used by the map drawers at
     the time of redistricting. See, e.g., Lee Decl., Ex. H (Exhibit 14 to Deposition of Heather Blessing)
     (screenshot of historical election data in map drawing software); id., Ex. I (excerpts of transcript of
     Deposition of Heather Blessing) at 133:09-21 (testifying that the codes in Exhibit 14 refer to “historical
     election data” and that the number indicates the year); id., Ex. J (excerpts of transcript of Deposition of
     John Morgan) at 44:02-44:17 (confirming he used election results data for elections from 2002-2010); id.,
     Ex. K (Exhibit 25 to Deposition of Clark Bensen) (includes individual election results for prior decade);
     id., Ex. L (excerpts of transcript of Deposition of Clark Bensen) at 165:11-166:13, 168:2-6 (testifying that
     Exhibit 25 was created in the course of 2011 redistricting and generated from a Maptitude file to which
     map drawers had access).


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     from the Proposed Plan. When an index actually “based on statewide, contested elections for the

     decade preceding the 2010 redistricting-cycle,” Hood Report at 11, is used, it is evident that it

     would have been known at the time that the challenged map vastly favored Republican voters at

     the expense of Democratic voters. Compare Hood Table 15 with one using an index with the full

     set of races:

     Comparison to Hood Table 15. Actual Partisan Classification of Ohio’s Congressional Districts 3
             District                Percent Republican          Classification
                1                          60.3%                 Safe Republican
                2                          59.7%                 Safe Republican
                3                          40.8%                 Safe Democratic
                4                          59.6%                 Safe Republican
                5                          59.9%                 Safe Republican
                6                          51.4%                 Competitive, Leans Republican
                7                          55.3%                 Safe Republican
                8                          64.2%                 Safe Republican
                9                          39.8%                 Safe Democratic
               10                          56.1%                 Safe Republican
               11                          25.4%                 Safe Democratic
               12                          60.2%                 Safe Republican
               13                          38.6%                 Safe Democratic
               14                          54.3%                 Competitive, Leans Republican
               15                          57.2%                 Safe Republican
               16                          55.7%                 Safe Republican

     3
      This Table uses the same “Classification” structure described in Hood Report at 14 and used in his Table
     15. The Index used to identify the “Percent Republican” is the same as that described in Hood Report at
     11 n.16 except with the 2002 races included, that is: The exact formula is as follows: [(Republican Vote
     2002 Governor/Total Two-Party Vote Governor)+(Republican Vote 2002 Attorney General/Total Two-
     Party Vote Attorney General)+(Republican Vote 2002 Auditor/Total Two-Party Vote
     Auditor)+(Republican Vote 2002 Secretary of State/Total Two-Party Vote Secretary of
     State)+(Republican Vote 2002 Treasurer/Total Two-Party Vote Treasurer)+ (Republican Vote 2004
     President/Total Two-Party Vote President)+(Republican Vote 2004 U.S. Senate/Total Two-Party Vote
     U.S. Senate)+(Republican Vote 2006 U.S. Senate/Total Two-Party Vote U.S. Senate)+(Republican Vote
     2006 Governor/Total Two-Party Vote Governor)+(Republican Vote 2006 Attorney General/Total Two-
     Party Vote Attorney General)+(Republican Vote 2006 Auditor/Total Two-Party Vote
     Auditor)+(Republican Vote 2006 Secretary of State/Total Two-Party Vote Secretary of
     State)+(Republican Vote 2006 Treasurer/Total Two-Party Vote Treasurer)+(Republican Vote 2008
     President/Total Two-Party Vote President)+(Republican Vote 2010 U.S. Senator/Total Two-Party Vote
     U.S. Senator)+(Republican Vote 2010 Governor/Total Two-Party Vote Governor)+(Republican Vote
     2010 Attorney General/Total Two-Party Vote Attorney General)+(Republican Vote 2010 Auditor
     General/Total Two-Party Vote Auditor)+ (Republican Vote 2010 Secretary of State/Total Two-Party
     Vote Secretary of State)+( Republican Vote 2010 Treasurer/Total Two- Party Vote Treasurer)] / 20.


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     Once the available data is used, the outcome for the challenged map is exactly as expected and

     exactly as it has performed in the elections under it: 12 Republican seats, and 4 Democratic seats.

     Once the available data is used, it is also clear that this is not a map characterized by competitive

     districts.

             Dr. Hood leaves out an election year that should be included based on his own

     description of the index (one “based on statewide, contested elections for the decade preceding

     the 2010 redistricting-cycle”). Hood Report at 11, see also Lee Decl., Ex. E (Hood Suppl. Rep.)

     at 7 (using same pre-redistricting index). When this omitted data is applied, it undermines the

     exact conclusion he is aiming to draw. Taken together, this demonstrates that his index and all

     related testimony is not based on the “sufficient facts or data” necessary for admission of expert

     opinion testimony under Federal Rule of Evidence 702.

         D. The opinions offered in Section VI of Dr. Hood’s Report and any related testimony
            are unreliable and should be excluded.

             Two overarching errors in Section VI make it unreliable, and thus should be excluded, as

     failing to meet the requirement of Federal Rule of Evidence 702(c): (1) there is no source

     information for any of the purported facts included therein, thus making it unable to be checked,

     and (2) Dr. Hood draws inferences from the listed information in a way contrary to the methods

     that should underlie such work. In this Section, Dr. Hood lists the purported previous offices

     held by candidates for office and amounts of money raised. He does not provide any citations

     whatsoever for the previous offices held, Hood Report at 19, nor can he recall what the sources

     were, Hood Dep. at 154:23-156:6. For the money raised, he references two websites at the most

     general URL address, but does not provide any information regarding how he extracted the

     information therefrom. Moreover, with respect to this information he does not know what

     information is reflected by the “source.” Id. at 156:7-157:6.



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          The second error of this Section is even more serious—totally undermining the reliability

   of the opinions offered. Throughout Section VI, Dr. Hood concludes that the lack of experience

   by the challenging candidates and the lower amounts of money they raised account for their

   losses. Hood Report at 19, 22. However, Dr. Hood does nothing more than list the purported

   experience and campaign contributions in support of this assertion. He did not consider the all

   too likely fact that the district lines themselves were the cause of such less-experienced candidate

   recruitment and lower campaign contributions. Hood Dep. at 157:7-160:7. He further admitted

   that the district lines themselves could have been the cause of these other election related factors.

   Id. at 160:19-161:10. In his academic work, Dr. Hood is “very cautious about making cause and

   effect claims” even when he completed statistical modeling to demonstrate the relationship. Id.

   at 161:11-17. He completed no such multivariate analysis here, purportedly because there were a

   limited number of data points. Hood Report at 23 n.30, Hood Dep. at 161:18-20. However, in

   his published work, he regularly completes multivariate analyses across congressional plans.

   See, e.g., Lee Decl., Ex. D at 207-08. When questioned on just this ground, he pointed to the

   consideration of VTDs within the district in that particular article, but admitted that Ohio also

   has VTDs. Hood Dep. at 161:21-162:15.

          By failing to consider alternate causes—and worse still, the very cause that Plaintiffs

   challenge in this case—the opinions presented in Section VI of Dr. Hood’s report are unreliable

   and should be excluded. See Best v. Lowe’s Home Ctrs., Inc., 563 F.3d 171, 177 (6th Cir. 2009)

   (failure to consider other possible causes cautions against certifying an expert).

      E. The opinions offered in Section VII of Dr. Hood’s Report and any related testimony
         are unreliable and should be excluded.

          In Section VII, while Dr. Hood conducts a regression equation with respect to the

   historical trajectory of the efficiency gap in Ohio, he then makes a giant inference therefrom: that



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   is, that the efficiency gap amounts to a measurement of proportional representation. It is clear on

   the face of all of the academic work on the efficiency gap that this is not what it measures. Dr.

   Hood’s work in Section VI does not offer any analysis that grapples with this literature, and

   instead follows with a litany of “what if” speculation, for which he offers no grounding or

   expertise. See Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 250 (6th Cir. 2001)

   (“‘knowledge’ connotes more than subjective belief or unsupported speculation”). Dr. Hood did

   not conduct any independent analysis of partisan bias metrics in Ohio. Hood Dep. at 166:9-

   167:2. He speculates about the application of the efficiency gap with respect to both uncontested

   elections and to unequal turnout elections, Hood Report at 26 nn.35, 38, as though they were

   unexplored, while both were considered and analyzed in the Report of Plaintiffs’ expert, Dr.

   Warshaw, which Dr. Hood had and reviewed at the time he wrote his report and reviewed. Hood

   Dep. at 10:5-21; Lee Decl., Ex. F (Ex. 4 to 12/17/2018 Hood Deposition); see also Hood Dep.

   at 167:13-168:6. Neither Dr. Hood’s unfounded inference regarding the efficiency gap, nor his

   disjointed listed of questions demonstrates any “specialized knowledge will help the trier of fact

   to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). These

   speculative questions are not admissible opinion evidence. Tamraz v. Lincoln Elec. Co., 620

   F.3d 665, 671 (6th Cir. 2010) (“nothing in his testimony suggests the sort of ‘knowledge’ on this

   point that the Rules require—only speculation, which is generally inadmissible”).

          Additionally, while not related to the efficiency gap, Dr. Hood also includes in this

   Section VII the confounding assertion, “Professor Cho’s districting simulations are based on the

   idea that the partisan seat distribution should roughly mirror the state’s overall political makeup.”

   Hood Report at 25 n.33. Dr. Cho’s report, of course, does no such thing (it rather shows millions

   of possibilities that could occur using a partisan index based on actual elections). Moreover, Dr.




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   Hood cites Dr. Cho’s entire report for this proposition, and could not even answer what about her

   report, opinions, or analysis lead him to such a conclusion. Hood Dep. at 165:15-166:8 (“that’s

   the inference I’m drawing, I guess). For an expert opinion to be admissible, it must logically

   follow. See R.C. Olmstead, Inc., v. CU Interface, LLC, 606 F.3d 262, 271 (6th Cir. 2010) (expert

   opinion must “outline a line of reasoning arising from a logical foundation”). Minimally, the

   expert must be able to explain to the court why his inferences should be made. See Kumho Tire

   Co., 526 U.S. at 157 (courts must not admit opinion evidence on the “ipse dixit of the expert”).

   Dr. Hood does neither of those things here and thus his opinion regarding Dr. Cho’s work should

   be excluded.

      F. The opinions offered in Section VIII of Dr. Hood’s Report and any related
         testimony are unreliable and should be excluded.

          In Section VIII, Dr. Hood contends that it is the “shifting partisanship” in Ohio that has

   led to the outcomes under the challenged map (as opposed to the clear 12-4 split easily known at

   the time, as demonstrated supra at Section C, “Comparison to Hood Table 15”). However, the

   same data selection bias that plagued the use of the index in Sections IV and V makes it

   insufficient to support Dr. Hood’s conclusions in Section VIII as well. It is therefore

   inadmissible as it fails to meet the requirements of Federal Rule of Evidence 702(c).

          This entire Section, as well as Section IV in Dr. Hood’s Supplemental Report, use

   insufficient data in order to conclude that a “substantial partisan shift” occurred in Ohio after the

   challenged redistricting. Lee Decl., Ex. E at 7. As discussed above, by leaving the 2002

   statewide races out of the partisan index, Dr. Hood understates the Republican composition of

   the state prior to redistricting, in an effort to suggest that the entrenched 12-4 Republican

   outcome in the congressional delegation since 2012 is caused by this supposedly “substantial”

   shift instead of by the construction of the challenged map. When applying actually sufficient



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   (and readily available) data, there is only a 2.2 % shift in the Republican share of the vote total

   for statewide races. 4 This is not “substantial” and does not explain the outcome under the

   congressional map. 5

           Additionally, Dr. Hood’s selective use of data (that favors his—or Defendants’—

   predetermined conclusions) is demonstrated in yet another way in this Section. In addition to Dr.

   Hood’s failure to include 2002 in Figure 1, he commits yet another data selection error in order

   to bulk up his claim of a partisan shift. While he describes his Figure 7 as being “analogous” to

   Figure 1, he does not include all of the statewide races in determining the partisan percentage to

   assign to each VTD in the post-redistricting period. Dr. Hood leaves out three of the five 2014

   statewide races. Hood Report at 27 n.39 (the full list of races held between 2012-2016 is laid out

   in the very next footnote, n.40). He includes the two most Republican of the 2014 statewide

   races, and leaves out the other three. Lee Decl., Ex. G (Ex. 17 to 12/17/2018 Hood Deposition);

   Hood Dep. at 171:8-21. This is part of the pattern of data selection choices throughout Dr.

   Hood’s report that serves to understate the Republican partisan make-up of Ohio prior to the

   redistricting and then overstate the Republican partisan make-up of Ohio following the


   4
    Using the official elections results from the website of Defendant Secretary of State, and applying the
   formula identified by Dr. Hood and updated supra at n.3 demonstrates the following shift, updating Table
   5 from Dr. Hood’s Supplemental Report:
   Years                      Percent Republican                Difference from Pre-Redistricting (2002-2010)
   2002-2010                         52.8%                                             ----
   2012-2016                         57.5%                                            4.7%
   2012-2018                         55.0%                                            2.2%
   These post-redistricting percentages are slightly different than those presented by Dr. Hood. Dr. Hood
   did not provide underlying data demonstrating how he reached his percentages, or any underlying data at
   all for his full set of 2012-2018 races, so Plaintiffs are left to guess why the discrepancy exists.
   5
    A quick look at the Table supra at 8 demonstrates that a +2.2% Republican shift does not alter the
   partisan breakdown known at the time of the redistricting in any of the congressional districts. Adding
   2.2% Republican to any of these districts’ assigned percentages does not shift a single seat between the
   parties. Even leaving aside 2018, a +4.7% Republican shift does nothing to alter the partisan breakdown
   known at the time as demonstrated in the Table supra at 8.


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   redistricting. Dr. Hood selectively uses data to bolster his claim that there is a “substantial”

   partisan shift in Ohio, in an effort to assert that this is the true reason that a purportedly

   “competitive” map became entrenched 12-4 Republican. His insufficient use of data and

   unreliable methods make these opinions inadmissible under Federal Rule of Evidence 702.

       G. Dr. Hood is not qualified to offer an opinion on whether plaintiffs have standing and
          the other opinions offered in Section IX of Dr. Hood’s Report and any related
          testimony are unreliable and should be excluded.

           Dr. Hood frames Section IX as contemplating whether Plaintiffs have standing. Dr.

   Hood admittedly is not an expert in federal court subject matter jurisdiction, nor is he an

   attorney. Hood Dep. at 179:2-9. He is not qualified to offer any such opinion.

           To the extent Dr. Hood attempts to frame this Section as something other than that

   outside his expertise, it offers the Court no “help . . . to understand the evidence or to determine a

   fact in issue.” Fed. R. Evid. 702(a). He simply lists a smattering of speculative questions,

   repeats what Dr. Cho’s simulations demonstrated for certain of the Plaintiffs, and relists the

   partisan percentages (already amply discussed as faulty above) for the districts in which certain

   Plaintiffs live. This simply is not the sort of specialized knowledge or reliable opinion that offers

   anything to the Court, and so should not be admitted under Federal Rule of Evidence 702. See

   Tamraz, 620 F.3d at 671 (rejecting speculation); Nelson, 243 F.3d at 250 (same).

       H. Dr. Hood’s Section X conclusions are utterly unreliable and should be excluded.

           As discussed above, Dr. Hood’s report is riddled with unreliable methods, ungrounded

   conclusions, conclusions reached in a manner contrary to his academic work, and insufficient

   data. For all of these reasons, the “conclusions” offered in his Section X are utterly unreliable

   and should not be considered by this Court.




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                                          CONCLUSION

          For all of the reasons discussed above, Dr. Hood’s proposed opinion evidence does not

   have the required reliable basis demanded of expert testimony, and should be excluded.


   January 18, 2019                               Respectfully submitted,

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